:Case 2:15-0\/- -05692- RGK- PLA Document 1 Filed 07/28/15 Page 1 of 24 Page |D #: 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

CL§P§K U.S. Dl TR§ TQ§L}RT
1 § David K§up 62547112 ‘ * 3 g
Federal Correctional institute 2 '
2 POSt office sex 3850
3 Adelanto, California 92301
4 UNITED STATES DlSTRICT COURT
5 CENTRAL DISTRICT GF CALIFOR“IA \
6 DA\/:D KAUP, ) §< pl L§
Plaintiff, ) §§:5® G§ég? §§ >C
7 v. ) Case No,
)
8 Ben Ribeiro = VP, )
Collecto lnc. AKA EGS CCA, >
9 Defendant. ) COMPLAINT iwm® _
) mm us msmcm?u
10 ) ,, ,,- ,,,,._,,,, ,,,.,,,, ¢.,, A,.,, v
11
12 Am JURISDICTION §
13 10 This is an action that alleges that this court has federal
l@ question jurisdiction pursuant to 28 U.S.C, § 1332 because:
15 a, The plaintiff is an individual residing in and a citizen of the
16 State of California;
17 b. The defendant is a corporation organized and existing under the
13 laws of the State of Massachusetts with its principle place of business in
19 Norwell, Massacbusetts.
20 c. Tbere is a complete diversity of citizenship between the
21 plaintiff and the defendantg
22 B,, DEFINITH)NS
23 2.z Tbe plaintift? David Kaup is a "consumer" as defined by
2& 15 UBS.,Ca § 1692§(3), as " any natural person obligated or allegedly
25 obligated to pay any debt“
26 3o Tbe defendantj Collecto lnc, AKA EOS CCA is a i¥debt collector“
Q? as defined by 15 U S,C» § 1692a(b>3 as " any person who uses any

 

 

Page 1 of §

§ Casa 2:15-cV-05692-RGK-PLA Document 1 Filed 07/28/15 Page 2 of 24 Page |D #:2

 

 

 

 

 

 

 

 

l l instrumentality cf interstate commerce or the mails in any business the

2 principle purpose pf which is the collection of any debts, or who

5 regularly collects or attempts to collect, directly or indirectly , any

h debts owed or due or asserted to be owed or due to anothere"

5 C. QTATEHENTWGFWTHE CASE

6 4. On May 2, 2015, the plaintiff obtained a copy of his credit

7 report from Equifax lnformation Services, Experian lnformation Solutions,
8 and Trans Union7 LLC through intermediary www.freecreditreport,com which

9 revealed that Collecto lnc0 AKA EOS CCA ("defendant") had placed an entry
10 on the plaintiffs credit report communicating that the plaintiff allegedly
11 had an account in default with the defendant in the amount $1,190000°

12 See Exhibit F,

13 5, The defendant took receipt.of the plaintiffs " Notice of

la Administrative Remedy: which was signed and executed May ll, 2015» ln that
15 document the plaintiff requested that the defendant validate the alleged
16 debt pursuant to the Fair Debt Collection Practices Act or also known as
17 "FDCPA"j 15 U.S.,Ce § 1692g(a) and § 1692g(b) through regular mail.

18 See Exhibit Ee

19 6. On May 15, 2015 and June 279 2015, The plaintiff mailed to the
20 three major credit reporting agencies? Equifax information Servicesz

21 Experian lnformation Solution9 and Trans Union, LLC disputing that the debt
22 owed to Collecto lnca AKA EOS CCA in the amount of $l?lQOQOO was

23 unknownj inaccurate and/or incomplete9 ln both letters? the plaintiff

2a requested verification and proof of debt which if the investigation proved
25 to be inaccurate, the plaintiff asked for the item to be removed

26 permenantly from his personal credit profile9 See Exhibit C &€L

2? 1

Gijie 275 ZOlS, A letter sent directly to the defendant

Page 2 af §

§ Casg 2:15-cV-05692-RGK-PLA Document 1 Filed 07/28/15 Page 3 of 24 Page |D #:3

was requesting that the debt Collecto lnco AKA EOS CCA was collecting waS

Unknown, lnaccurate and/or lncompletea Three notices was mailed directly

 

PL)~JNP~*~

LY'\

to the defendant advising them of the dispute on May 117 2015, May 11,2015,
and June 27, 2015. See Exhibit BSC,&Da

 

\Q 00 \|`G'\

10
11
12
13
14
15
16
17
18
19
20
2l
22
23
2&
25
26

2?

 

 

 

 

8, Gn Juue 30, 2013 A letter from the defendant was sent to the
plaintiff expressing that the original creditor was "Time Warner Cable".
ln that letter, Collecto lnce AKA EOS CCA states, " EOS CCA has received
your dispute regarding account number 59877712, Based on the information
you provided and a review of our records, the following serves as
verification of your outstanding debt." See Exhibit A.

9. On May 11, 2015, A "Debt Collector Disclosure Statement" was
mailed to the defendanta The questionaire asked qustions such as,
(1) Name of the Debt Collector, (2) Address of Debt Collector, (12) Did
Debt Collector purchase this alleged account from previous debt collector?7

(15) What are the terms of the transfer of rights re this alleged account?9

(17) lf the transfer of rights re this alleged account was by assignment,
was there consideration? (33) Does there exist verifiable evidence of an
exchange of a benefit or detriment between Debt Collector and alleged
Debtor? (37) Have any charge=offs been made by any creditor or debt
collector regarding this alleged account? <38) Have any insurance claims
been made by any creditor or debt collector regarding this alleged account?
(43) At the time the alleged original contract was executed7 were all
parties apprised of the meaning of the terms and conditions of said
alleged original contract? and finallyz (44) At the time the alleged
original contract was executed5 were all parties apprised that said alleged
contract was a private credit instrument? See Exhibit ha

100 lnstead9 a bill was sent to the plaintiff`demanding that the

rage 3 of 9

N

j Ca§e 2:15-cV-05692-RGK-PLA Document 1 Filed 07/28/15 Page 4 of 24 Page |D #:4

balance of $1,190.24 be paid to their company. After multiple attempts to
no verify assignment of_debt, executed contracts, and verifiable evidence,

tne~derendant knowingly attempts to collect nn a Nnknown or lnaccurate debt.

 

$'L~

bn

Do CLAIM ONE

14a Tns pisan+iFF nqqprrq that the defendant violated section

 

m w 'w 0

10
11
12
13
14
15
16
17
18
19
20

 

 

21
22
23

25
26

27

 

 

 

15 U.S.Cc § 1692e(2)(A) of the Fair Debt Collections Practices Act when

the defendant reported to Equifax lnformation Services, Experian lnformation
Solutions, and Trans Union7 LLC that the plaintiff is in default with

the defendant for the amount of $1,190 through assignment from the original
creditor. See Exhibit A & F,

15. Tourgeman v. Collins Fino Servs 755 FaBd 1119 States the "false
representation of the character, amount, or legal status of any debt" is
prohibited by the ("FDCPA"), The defendant intended to manipulate the
plaintiff by falselyrepresenting the alleged debt even though it was
never assigned by the original creditor and the multiple-

Notices that the plaintiffsent to the defendant stating that he has been in
Jail since the account was opened in September of 2014°

16. The plaintiff hereby seeks statutory damages in the amount of

$1,000°00 for each of the three (3) violations of 15 U.S.,C9 § 1692e(2)(A)
made by the defendants

t a ' crim iwo

170 The plaintiff asserts that the defendant violated section
15 U¢S,Cn § 1692e(8) of the Fair Debt Collections Practices Act when the
defendant communicated false informaton concerning the alleged debts
which the plaintiff never owed to the defendant, The defendant
communicated to Equifax, lnformation Services7 Experian information

Solutions and lrans Unionz LLC false information? stating that Collecto inca

tate t ar a

 

j Case¥2:15-cv-05692-RGK-PLA Document 1 Filed 07/28/15 Page 5 of 24 Page |D #:5

 

 

 

l AKA EOS CCA had been assigned the task to collect said debt from the

2 plaintiff,lhe defendant never verified assignment of debt,eXeCuted contracts
j .nor submitted-any evidence of debt to the plaintiff. S€€ EXhibii E

h 18‘ Guerrero v. RJM Acquisitions LLC. 499 F.Bd 943 (ch Cir. U,S.

5 App LE\lS 29072) states " Communicating or threatening to communicate to

6 any persons credit information which is known....to be false." ln order

17 to sustain section 1692e(8), Collecto lnc. AKA EOS CCA never had valid

8 assignment authorizing them to pursue and report to all three credit

9 bureaus alleged debt associated with the plaintiff.

10 19q The plaintiff hereby seeks statutory damages in the amount of

11 $1,000.00 for each of the three (3) violations of 15 U.S.,C6 § 1692e(8)

12` made by the defendant.

13 X Fs CLAIM THREE

th 20o The plaintiff asserts that the defendant violated section

15 15 U.S.Co § 1692e(10) of the Fair Debt Collections Practices Act ("FDCPA")
16 when the defendant used false and deceptive means to collect debts from

17 the plaintiff in the amount of $l,lQ0.00. The original debt had been j
18 written off by the creditor which indicated the Monthly Payment, High

ig Balance, and Limit as $O¢OO. By communicating false information9 the

20 defendant attempted to gain an advantage of an unsophisticated consumer

23 through false misrepresentation0

22 21a Heathman vo Portfolio Recovery Assocs°? LLC, UQSQ Distg LEXIS

23 27057 (ch Cir@'ZOlB> states, " A debt collector violates [section

24 1692e(10)] if it ° use[sle¢°.a false representation or deceptive means

25 to collect or attempt to collect any debt or to obtain information

26 concerning a consumerg ( a debt collectors representation that a debt is

22

 

 

owed to it when in fact it is notz amoutnts to a misrepresentation barrred

Page 5 of 9

s

Case 2:15-cV-05692-RGK-PLA Document 1 Filed 07/28/15 Page 6 of 24 Page |D #:6

 

 

 

 

il by the "FDCPA‘H

2 22, The plaintiff hereby seeks statutory damages in the amount of

5 $1,000¢00 for each violation of 15 USS.C. § 1692e(10) made by the

4 defendanto

5 G. cLAiH”FuuK

6 7236 The plaintiff asserts that defendant violated section 15 U‘S.Ca
7 § l692e(12) of the Fair Debt Collections Practices act when the defendant
8 communicated the false representation that the alleged accounts were

9 turned over to Collecto lncc AKA EOS CCA for value to Equifax lnformation
10 Services, Experian information Solutions, and Trans Union LLC. The

11 defendant never received valid assignment to pursue or report to the

12 major credit reporting agencies regarding the debts associated with the

13 plaintiffn

1a 24; On May 11, 2015,'The plaintiff mailed a " Debt Disclosure

15 Statement" to Collecto lncs AKA EOS CCA, See Exhibit Ee There are several
16 questions that are asked regarding the transfer and assignment of the

17 original debt which the defendant never answered, The plaintiff never

13 received any proof of valid assignment, verification of transfer right of
19 debt, nor evidence that the defendant had the right to collect on a debt
2@ as a "Third Party" by the original creditor " lime Warner Cable"a

23 25e Fortunato vo Hopp Law Firm? LLC9 2012 U.,So Diste lEXlS 152712

22 (ch Circuit) states, "Section-1692e(12) prohibits the false representation
23 or implication that accounts have been turned over to innocent purchasers
2a for value"o

25 26a When determining whether a misrepresentation in_a debt collection
25 has been made9 the court must apply the "least sophisticated debtor”

 

 

 

standard.-v The analysis is objective and m lakes into account whether the

Page 6 of §

§ Case 2:15-cV-05692-RGK-PLA Document 1 Filed 07/28/15 Page 7 of 24 Page |D #:7

 

 

l whether the " Least sophisticated debtor " would likely be misled by a

2 communication." (nuoting Donohue ve Quick Collect7 lnc,, 592 F.3d 1027°

3 1030 (ch Cir»)) The plaintiff was falsely represented by the defendant

4 of the transfer of debt by the original creditor»

5 27. The plaintiff hereby seeks statutory damages in the amount

6 of $1,000.00 for each of the three (3) violations of 15 UlSSC. § 1692e(12)
7 made by the defendant.

8 H a cLAiM rtvE

9 28, The plaintiff asserts that the defendant violated section

10 15 U.S.C4 § 1692f(1) of the Fair Debt Collection Practices Act when the
11 defendants unconscionable means to attempt to collect alleged debts by

12 reporting to Equifax lnformation Services, Experian lnformation Solutions,
13 and Trans Union LLC that Collector lnc, AKA EOS CCA had obtained legal

14 permission documented by a valid assignment that the plaintiff was now in
15 default with debts owed to the defendant. This was an attempt to force the
16 plaintiff to pay monies allegedly owed to the defendant when in fact,

17 no evidence was ever sent to the plaintiff that he owed the said debts

18 29¢ Sukiasyan v9 OCS Recovery incas U.Se Dista LEXlS 29877 (9th

19 Cir. 2013> states9 " a debt collector may not use unfair or unconscionable
29 means to collect or attempt to collect any debto Without limiting the

21 general application of the foregoing, the following conduct is a

22 violation of this section: (i) The collection of any amount (including

23 any interest, fees, charge, or expense incidental to the principle

2a obligation) unless such amount is expressingly authorized by the

25 agreement creating the debt or permitted by law¢" Minus the agreement to

§§ collect on the attempted debt7 the defendant is in direct violation of this
2; section0

 

 

§ Case 2:15-cV-05692-RGK-PLA Document 1 Filed 07/28/15 Page 8 of 24 Page |D #:8

 

 

 

 

1 l 30. The plaintiff hereby seeks statutory damages in the amount @f
2 $1,000.00 for each of the three (3) violations of 15 U.S.C, § 1692f(1)

3 made by the defendants 1

4 le ` DAMAGES

5 31. 15 U.SGC° § 169°k n Civil Liability - (a} Amount or namages m
6 Except as otherwise prohibited by this section, any debt collector who

7 fails to comply with any provision of this title [15 USCS §§ 1692 et seq.]
8 with respect to any person liable to such person in the amount equal to

9 the sum of: 1

10 (2)(A) in the case of any action by an individual, such additional damages
11 as the court may allow, but not exceeding $1,000.00

12 J, REQUESTED RELIEF

iarchAin onrz the violation et 15 U.s.c. § 1692€(2)@) is $15000.00 rata
lhi}the'false representation of debt reported to Equifax lnformation Services?
15,'Experian information Solutions, and Trans Union LLC.

16 roTAL DAMAGES; \ + $3,000.00

17 CLAlM TWO: t A violation of 15 U¢S,C. § 1692e(8) of the ("FDCPA") is

18 $1,000°00 for submitting false information to each of the three credit

19 reporting agenciesz Equifax lnformation Services, Experian information

20 Solutions7 and Trans Union LLC by the defendanta

21 roi‘At DAMAGES: + $39000900

22 ClAlM THREE: A violation of 15 U¢S.,Ce § i692e(10) of the ("FDCPA") is

23 $1,000,00 for the false communication by the defendant to Equifax

24 lnformation Services, Experian information Solutions, and Trans Union

25 LLC,

26 remit oinisss; + sayooo¢oo

22 CLAlN FQUR: §§ violation of 15 U$SSC9 § 1692e(12) Of the <WFDCPAW} is

 

 

Page 3 §§ §

 

Cas$e 2:15-cV-05692-RGK-PLA Document 1 Filed 07/28/15 Page 9 of 24 Page |D #:9

§

 

 

1 $1,000,00 for the false representation by the defendant regarding the
2 plaintiffs alleged debt reported to Equifax lnformation Services, Experian
3 information Solutions, and Trans Union LLCo
4 TOTAL DAMAGES: + $3,000,00
5 `CLAIM FIVE: A violation of 15 U.S.Co § 1692f(1) of the L"HDCPA") is`
`6. $1,000.00 for the unconscionable means used by the defendant to attempt
7 to collect on a debt by the plaintiff knowing the debt had been "Written
8 Off'e by the original creditor. This includes reporting to the three
9 major credit reporting agencies Equifax lnformation Services, Experian
10 lnformation Solutions7 and Trans Union LLC of the unconscionable means to
11 collect a debt, `
12 TOTAL DAMGES: + $3,000.00
13 32. The total amount of damages requested by the plaintiff is
14 $15,350800,
15 33, The $350¢00 added is the court cost associated with this section,
16 l David Kaup, hereby declare under penalty of perjury in the
17 State of California, that the information stated above and any
18 attachments to this form is true and correct°
19 DATED; 07 /1 7/2015 ' sr a ae:WM`
David Kau h
20
21
22
23
24
25
26
22

 

  

 

 

Page § of §

 

    

se 2:15-cv-05692-RoK-PLA

  

June 30, 2015

 

EOS CCA , "

700 LONG\f\/ATER DRl\/E Office l-lours:

NORV\/ELL, MA 02061 § vonday - Thursday; 3;00 Alvl - 9:00 rem et
Frlday: 8;0‘§) Al\!! 510“ Pl\v’l ET

Toll Free : 1-877~857-9757 Sawrday; 8;00 Al\/l - lZ:OO Pl\/l ET

Pnone l\lumber: 1-781-753-4156

 

RE:
¢¥outAccount»vvlth¢oura@llent¢;llMEeWARNER:~GABL~E

 

Reterence #: 8448300741870205
Agency Accoun‘l #: 59877712
Orlglnal Credltor, if different from Cllent;

    

cent number 5987771233sedon ytheintorymellon'you provided and a review'o'f our records th

 

Consumer ldentlfication

Name: DA\/lD KAUP

Address ~ 62547112 FC| 2 PO BOX 3850
ADELANTO CA 92301:

Last 4 digits of SSl\l; XXX“XX-O1 12

Original Credltor Tlme VVarner Cable

3140 VVesl Arrovvhead Rd
Charlotl:e NC Charlotte

Orlginal Credltor Account #; 8448300741870205

Current Creditor if different from Original Credltor

EOS CCA Account #; 59877712
Current Balance

Princlpal: 3 245.24
lnterest: $ 0.00
Fees/Coll Costs $ 945.00
Total Balance: 33 1190.24

The above information has been verified as correct lf you have any questions please contact our Consumer Relatlons Department at 1-877-857-9757 for
further assistance

Yours tru\y,
Consumer Re|atlons Departrnent

Thls communication ls from a debt collector Tnls is an attempt to collect a debt and an\' information obtained Wlll be used for that purpose

Be advised this account ls a time-barred debt and no legal action may be filed against you

DEF-59877712,-1911-063015»345-@5¥\1~01471*

PO BOX 981002
BOSTON, lVlA 02298-1002

 

FORVVARD SERVlCE REQUESTED

PERSONAL & CONFlDENTl/¢\L
01471

ll@lrllrlllnllllllnlllalll@lnllllllnllrl§rlrlllll,lmllll

DAV|D KAUP
90 BOX 3856
ADELANTO CA 923[}’§~9`?@§

 

Case 2:15-cv-05692-RGK-PLA Document 1 Filed 07/28/15 Page 11 of 24 Page |D #:1,1

 

 

 

 

NOTICE
DATE; 05/11/2015
. Certified Naii Number
David Kaup #
lco“$umet) Social Security Number
#blZ-OE~XXXX
Aileged Account(s)
EOS CCA #5937><><><>< '
(Debt Collector)

SUBJECT: Request for Validation of Debt! and Notice of Resetvation of
Rights for initiating a Counter Claim against the Debt Collector's
official Bond.
Consumer°s Private Notice of Administrative Remedy

The private notice of administrative remedy demand is binding
upon every principle agent regarding the subject matter set forth
herein above. l

Wtitten communication for Validation of alleged debt(s) pursuant

to Fair Debt Collection Practices Act1 15 U,S.C9 § 1692 (a)(i).

lt has come to my attention after reviewing a copy of my credit

report dated 05“01“2015 that your agency has communicated to

Equitax, Ttansunion or Experian that I owe ($) 1519@»00

 

to your`comoanye Please note that l consider your demand tot money
a written communication from a debt collector¢ I now exercise my
rights pursuant to §§ U@S@C0 § io§i(a)§i) and request validation
of the alleged debto

l have included with this notice for proof of debt aiso known as
a geDEBT COLLECTION DISCLOSURE STATEMENT“ for the legitimate purpose
of insuring that your agency°s validation is executed ia accordance'

with the laws codified in TITLE §§ UQS@CQ § io§§§ and must be

completed in full by your agency and tetutned to me witnie tnitty days 30

m
a

¢a§i § of §

y¢.

§§ase 2:15-cv-05692-RGK-PLA Document 1 Filed 07/28/15 Page 12 of 24 Page |D #:12

of your agency's receipta

CAVEAT

 

i. l am respectfully providing advance notice to your agency of
the civil liabilities under TITLE 15 U.S.CB § 1692 for failure to

y comply with wis preserves of this title {1< U<PQ§§ 1607 et seq i
2. Upon receipt of this NOTICE, The debt collector must cease
all collection activity regarding the alleged debt(s) until the
respondent is sent the herein requested verification as required by

the FAIR DEBT COLLECTION PRACTICES ACTo

3. lf debt collector, such as by commission, omission, and other
wise: 4
(a) Fails in giving respondent full disclosure regarding
the nature and cause of debt collector's claim
concerning the herein above referenced alleged debt.
(b) Makes false representation of the character of herein
above referenced alleged debt.
(c) Makes false representation of the legal status of the
herein above referenced alleged debt.
(d) Makes any threat of action that cannot legally be taken
in violation of any applicable law3 such as the law
at the talk DEBT CQLLECTIGN PRACTlCES aCT@

Respondent may initiate a counterclaim and claim against the
debt collector's bond as well as bonds of any principle agent9 and
assignee of debt collector whose acts and omissions result in the
respondent sustaining any tort injury»

46 Debt Collector is also hereby given §otice tbat;

PAGE 2 of §

glass 2:15-cV-05692-RGK-PLA Document 1 Filed 07/28/15 Page 13 of 24 Page |D #:13

DlSCLOSURE STATEMENT ATTACHED

(a) Debt Collector's unsubstantiated demand for paymenta A

 

a scheme to be delivered by mail may constitute mail fraud
under the State and Federal Laws. (Debt Collector may wish
fn pnnan`|§- mi fn 3 pnmpai-¢=nt- leg§l nmmc~~il before
originating any further communication with respondent)

(b) Debt Collector's failure in providing respondent the
requisite Verification, Validating the above referenced
alleged debt within the requirements of law as coded in the
FAIR DEBT COLLECTION`PRACTICES ACT and the corresponding

laws of each state signifies that debt collector tacitly

agrees that;

l Debt Collector has no lawful, bona fide, verifiable claim
regarding the above referenced alleged account.

ll Debt Collector waives any and all claims against respondent.

lll Debt Collector tacitly agrees that Debt Collector will
compensate respondent for al cost, fees? and expenses
incurred in defending against this claim and any continued
fraudulent collection attempts regarding the above referenced
alleged account8

5s This is also an attempt for determining the nature and basis

of a case or counterclaim against the debt collector9 and any

information contained eithin debt collector“s commissiong omissions

and the like will be used for that purpose8

FAGE 3 of 5

4 Case§2:15-cv-05692-RGK-PLA Document 1 Filed 07/28/15 Page 14 of 24 Page |D #:14
THIS lS A NOTICE OF RESERVATlON OF RlGHT FCR lNlllATlNG s

COUNTERCLAIM AND FILING A ClAlM AGAINST AN GFFlClAL BOND:

 

EOS CCA
NAME OF COMPANY UR BOND HOLDER

 

***CAVEAT***

7. ln the event that the debt collector does not respond to this
"Notice" within the prescribed time limit for repon"e and there has
likewise been no request for extension of time with good cause shown
therein, then the debt collector agrees that debt collector has
submitted a fraudulent claim against respondent, and reespondent can
file a law suit for costS, fees, and injuries incurred defending

against this fraudulent collection by debt collector regarding the

above referenced account,

YAGE a of~§

pase 2:15-cV-05692-RGK-PLA Document 1 Filed 07/28/15 Page 15 of 24 Page |D #:15

VERIFICATION AND CERTIFICATION

8, The undersigned consumer, David Kaup does herein

-WMMMMMWMWWSWaarTadaclemejlandcaffirmmthatwthisandtdcewig£lyalldé;i££i$i…§§bl~cswwwwwa,

and reservation of rights that the consumer can competently state the
matter set forth herein, that the contents are trues'correct, and
completeo This verification and certification is executed this lltb

day ofMay-ZOH> a

ar
if

z//d"?/

(Signature of Consumer)

 

PROOF OF SERVICE

l declare under penalty of perjury under the State of
California that l personally mailed a ' “Notice for Validation of

Debt" <5 Pages) and "Debt Collector’s Disclosure Statement" (3 Pages)

`to all parties listed below at:

EOS CCA
PO BOX 981025

BOSTONq MA 02298

On this jlth day of MayeZOiS Mmm? l certify this to be true?

correctg and complete=

(Signature§bf Consumer)

PAGE § of §

 

§ y Case`2:15-cv-05692-RGK-PLA Documentl Filed 07/28/15 Page 16 of 24 Pa§.'ec
TRULii\iCS 625471“12 ~ i<AUP, DAViD » Unit: VVM~A~U

 

Date:
05/15/2015

i\iarne:
David Kaup

DOB:
01/26/1983

SSN:
612~03~0112

i\/iaiiing Address: ,
David Kaup - 62547112
Federai Correction institute 2
Po Box 3850 '

Adeianto, CA 92301

To Experian - Trans Union and/or Equita)<,

i obtained a copy of my consumer credit report through intermediary WWW.freecreditreport.com on 05/02/2015. i arn sending
this ietter to dispute matters beiovv vvhich do not belong to me. i have been incarcerated in Federai Prison since 11/26/2013. i
requested verification of any debts owed to EOS CCA and i have not received a response i vvouid iike this permanentiy remove
this item oft of my personai credit report The information of debt owed is inaccurate and incompiete. Thani< You

Account i\iame: EOS CCA

Address: Po Box 981025, Boston i\/iA 02298
Statns: Open

Account# 5987XXXXX

Date Opened: 09/01/2014

‘Case§2:15-cv-05692-RGK-PLSR§%Q]clun}te}n§t}§l/WF|E|)

 

,i“ii_liw_i~ Dis uted Account lnformation

 

N@m€fD@Vid K@UD Creditor/Debt Coilector Name:
Social Security Number: 303 CCA.
612»03-0112

Date Of Birth:Ol/26/1983

Account Number: 5987XXXX
Mailing Address:

Balance Uwed: $1,190,00
David Kaup_62547112 Dat€ Open€dz 09/01/2014
Federal Correctional lnstitute 2 Paym€nf StatuS;Charge Off Collections

PO BOX 3850 Creditor/Debt Collector Address:
Adelanto, California 92301 Po Box 981025

‘ Boston, MA 02298
Date of Notice:06/27/2015

RE: Third Notification of dispute foprUnknown, lnaccurate and/or
lncomplete information regarding my personal credit profile.

re sos ccA,

l sent a request to validate proof of debt which was signed on
May, il, 2015. l never received a response from your company regarding

my requesta A follow up notice was sent to all three major credit
reporting agencies on May 25, 2015. l forwarded a copy to your company
as well. in that letter, l noted that the debt you are trying to collect
is Uni<nownj lnaccurate, and/or lncomplete. ln additionj the debt you
are reporting is occured while l am serving a federal prison sentencer

in the event that your company does not respond to this ”NOTICE”
within 30 days of the date enclosed, l will begin the process to

file a claim against your companyn l have exhausted all Administrative
Remedy ontions°

o w

er the several reasons9 above9 l politely ask that you notify
credit\reporting agencies of this error and remove the debt
cm my personal credit profile immediatiy°

fhank You?

,¢“i}r
’; ,§?;'/ y_.~" 17 ,,,,,, ~’>

David Kaup

 

sen conettren oppose To pr
case 2:15--cv 05692- RGK- Pt…nrr"'l=nén'pm’s/ls Page 13 of 24 Pa';z, ,

 

DEBT COLLECTOR DlSCLGSURE STATEMENT
Re “OHer of Perfomiance”
This statement and lhe answers contained herein may be used by Respondenl, ll necessary in any coud cl oornpelenl lunsdicllon;

Respondénl’s anate NOTIGE Admlnlslradve Remedy Demand No.

 

Nollce: l’his Debl Colleclnr Dlsclosure Slalemenl is nol a substitute for nor the equivalent ol, the hereinabove-requested
vénlloollon of the recocd, le ’Conllrmadon of correctness trulh, or audienlic.ily, by all‘?davil, oath or deposidon' (Black's law

chllonag¢, Slxlh Edlllon, 1990), re the alleged debl, and must be completed in accordance with the Fair Debl Collecllon
Practlces Acl l5 USC §16929, applicable portions of Tml:h m Lazdlhg (Regulatlon Z) lZ CFR 226 and demands as ciled
above ln Oller of Pedoimance. Debl Colleclor must make all required disclosures clearly and conspicuously in wrian re lha

following: 4

‘l. Name ol’ Debl Colleclor: .................................................. - ...............................................................................
Address of Debt Collector: ..............................................................................................................................
Name of alleged Deblor: ..; .............................................................................................................................
Addrass cl alleged Deblor. ..............................................................................................................................
Alleged Aocounl Number. .................................................................................................................. , .............
Al\egeo debeoweo:s ................................................................... ` ...................................................................

Dale alleged debt became payable: ..................................................

, ................................................................
4

lie deis alleged account wnal is lhe name and address ol the alleged Orlglnal Credllor, lfdlllerenl from Debl Colleclor?

m.`*l.m$n.&".w!\’

..................................................................................................................................................................

9 Re lnls alleged account il Debl Colleclor is different from alleged Onglnal Credi'lor, does Debl Colleclor have a bona fide

affidavit of assignment for enlen'ng ile alleged original conlracl pelween alleged Original Cradilor and alleged Deblo¢’?
YES NO

iO. Dld Debl Colleclot purchase this alleged accounlirom lhe alleged Qnginal Credilor’? YES NO l\l/A {Nol §pplicabla)

il. ll applicable dale el purchase ol this alleged account from alleged Origlnal Cr~edilot, and purchase amount

Dale .. Amounl:$ .............................................................................

ll Did Debl Colleclot purchase lois alleged accounllrom a previous deolcolleclof’? YES l\lQ .l:\llA

l;l. ll applicable dale el purchase of this alleged accounl from previous debt colleclol‘, and purchase amount

d

Dale‘. ............................................................ Amounl; § ....... a .................................... ' ..................................

le Regaming this alleged account Sel')l Collecloris currently lne:
(a) Owner; (b} Assig nee; {o) Ollier~ explain ......................................................................................................

...................................................................................
...............................................................................

\\

l§, Wnal are melen'ns cline transfer ol rignls re llilsalleged accounl’? ................

i@, ll applicable 'lransferol rights re lois alleged acoounl was executed `:oy lne lollowlng melliod: =
(a)ASsignmenl; lb) l\legolialion;c lo )l\lovalion; ldl©lher@explaln

.................................................................................................................................................................

»Respopdcnigs §>r§vsle N@F§EC§A&minisl:'alive Rernedy iceland

` Case 2:15-cV-05692-RGK-PLA Document 1 Filed 07/28/15 Page 19 of 24 Page |D #:19

li.
18.

20,

Zl.
22.

23.

24.
25.
26.
27.
28.
29.
30.

3‘i.

32.

33.

34

35.

36.

37.
38.

lillie transfer of rights re wis alleged account was by assignment was there consideration? YES NO N/A

erat is the nature and cause ot the consideration cited in rt i7 above?

...............................................................................................

..................................................................................................................................................................

. lt the transfer of rights re thisl a lleged account was by negotiation was the alleged account taken for vali;e?

VES _MO me

|`||I"\

..............................................................................

.................................................................................................................................................................

............................................................................

..................................................................................................................................................................

ties Debt Collector provided alleged Debtor with the requisite verification ot the alleged debt as required by the Fair Debt
Collection Practices Act'? YES NO

bare said verification cited above in § 23 was provided alleged Debtor:

....................................................................

Was said verification cited above in it 23 in the form ot a sworn or altinned oath atlidavit, or deposition? YES NO
Verihcation cited above in it 23 was provided alleged Debtor in the form ott OATH AFFlDAVl`i" DEPOSTlON
goes Debt Collector have knowledge of any claim(s)/detense(s s) re this alleged account? YES NO

What is the nature and cause of any claim(s Ss)/defense( s} re this alleged account? .......................................................

Was alleged Debtor sold any products/services by debt Collector'? YES NO

What is the nature and cause ot any products!services cited above in # 297

.............................................................

..................................................................................................................................................................

Does there exist a verifiable bona tide original commercial instrument between Debt Collector and alleged Debtor
containing alleged Crebt tor's bona tide signature? YES NO

Wbat is the nature and_cause ot any ven`nable commercial testament cited above in tt 31?

.........................................

................................................................................................................................................................

Does there exist venbableevidence ot an exchange ot a benefit or detriment between Debt Collecior and alleged bebtor?
YES NO .

Wliat is the nature and cause ot tbis evidence ot an exchange ct a benefit or debirnent as cited above in it 33?

,,,¢¢.....».~~.-~v~v--~~.v..¢°..,.....¢,...‘°...e¢...-¢..r.,.......¢.'-.~-..‘¢.»¢....¢...-¢..,..¢.,.....,.¢.»¢....-.....¢....»»»=.\-.¢¢..»...,..,.,.. ...............

Does any evidence exist tot verifiable externai act(s ) giving the objective semblance ot agreement between Debt Collector
and alleged Deb toi“? YES NQ _~

What is the nature and cause ot any external act(s) giving the objective semblance ol agreement from #35 above?

W..,.l....».a.~.,...,.......,....¢.,,..,.=...,.,.»»--.....¢.i,¢...,,,...c.......-....H,...,.......,...,,,..l..,....¢...,.e,w'»-~~~1~<?1..;,,,~,..…...,¢.=~

HBVE any Cha”g@'@ff$ been mad@ b>’ 3“)’ Creditor or debt collector regarding this alleged accodni".?' YES i\iG z
Have any insurance claims been made by any creditor or debt collector regarding this alleged account’? YES r\l(:)

Respondcnt’s §’ri’,;ate §G:¥:QE Aciraioi:ti"ati‘rc Rcineo`y iDera:io.é

§ ;’(§;t;§ §§

9 Case 2:15-cV-05692-RGK-PLA Document 1 Filed 07/28/15 Page 20 of 24 Page |D #:20

39. l~lave any tax wnteotis been made by any creditor or debt collector regarding this alleged account? YES i\lO

40. Have any tax deductions been made by any creditor or debt collector regarding this allegedaccoontl»¥€§ l\O

 

41. llave any judgments been obtained by any creditor or debt collector regarding this alleged account? YES NO

42. At the time the alleged original contract was executedl were all parties apprised ot the meaning or the terms and
conditions of said alleged original contract? YES NO

43. At the lime the alleged original contract was executed were all parties advised of the importance ot consulting a licensed
legal professional before executing the alleged contract? YES NO

44. At the time the alleged original contract was executed were all parties apprised that Said alleged contract was a private
credit instrument? YES NO

Debt Collector’s tallure, both intentional and otherwise in completing/answean points "l” through ‘44‘ above and returning
this Debt Collector Disclosure Statement, as well as providing Respondent with the requisite verification validating the
hereinabove-referenced alleged debt, constitutes Debt Collector‘s tacit agreement that Debt Collector has no verifiable, lawful
bona tide claim re the hereinaboverel‘erenced alleged account and that Debt Collector tacitly agrees that Debl Cotlector
waives all claims against Respondent and indemnities and holds Respondent harmless against any and all costs and fees

heretofore and hereafter incurred and related re any and all collection attempts involving the hereinabovereierenced alleged
account

Declar~al:ion: The Underslgned hereby declares under penalty ot perjury ot the laws ot this State that the statements made in

this Debt Collector Disclosure Statement are true and correct in accordance with the Undersigned's best firsthand knowledge
and beliel.

 

 

Date Printed name ot Signatory

 

 

thclal title Ol Sin‘lalOfY v Authon'zed Signature for Debt Collector

D@bt Collector must timely complete and return this Debt Collector Disclosure Staternent, along with all required documents

referenced in said Debt Collector Disclosure Statement. Debt Collector’s claim will not be considered il any portion ot this ~
Debt Collector Disclosure Staternent is not completed and timely returned with all required documents which specifically

includes the requisite verification made in accordance with law and codiiied in the Fair Debt Collectlon Practices nat at 15

USC §lSQZ et seo., and which states in relevant part; "A debt collector may not use any ialse, deceptive or misleading

representation or means in connection with the collection of anyl debl,” which includes ”the false representation or the
character, or legal status of any debt,° and ‘lhe threat to take any action that cannot legally be lalren,o all di which are

violations ot lavv. lt Debt Coliector does not respond as required by law, Debt Collectors claim will not be considered and

Debt Collector may be liable for damages ior any continued collection eitorts, as well as any other injury sustained by
Respondent Pl@a$@ allow thirty iBCl) days for processing etter Respondent’s receipt or Debt Collector‘s response

Rc$r)ondent’s §:’rivate N@ §3»`;:§ administrative itcnzedy 'Dern;;nd

 

  

§ Case 2:15-cV-05692-RGK-PLA Document 1 Filed 07/28/15 Page 21 of 2 agg?D§fZl
TRUL§NCS 62547’§12 » KAUP, DAV§D - Um'§:: \/VM“/_\~U

Potentia§|y Negat§\/e C|osed

Accou§§t Name CAF’|TAL ONE BANK USA N
Account # 51780572XXXX

Account Type Ban§< Cred§t Cards

Ba§ance $0400

Past Due $0.00

 

Dd§.r; Gpcwsd 91“§/'/.\)\)/

Account Status C§OSed

§\/§0` Paymen§: $0.00

Payment Status Pa§d, vvas past due 120 days
H§gh Ba|ance $517,00

Limit $300.00

Terms Revo|ving

l

8777417302

4200 §NTERNAT§ONAL PKV\/\
CARROLLTGN, TX 75007
Un§<novvn

Account T,,V …..G§ wu§§ection Agencies
Ba§ance “€‘ mm ""`

Date Op§ .v, .,,_0§0

Account Status

§\/§0 Paymen§ $0. 00

Payment S§;atus Serious\y past due date / assigned to attorney Coilectior§ agency, or credit granto§"s §ntema§ col§ection
department

High Ba§ance$0.00

L§m§t $0.00

Terms § Month

  
 

, '§§Fif§§'er§~¢§és; , "

§NANC§AL CRED§T NET\/\/O
5597337560
§300 VV §\/§A§N ST
\/§SAL§A, CA 93291
` Un§<§§c)v\/§§
Account Ne§m@ §:§NA§\§C§AL CRED§T §\!ETWO
A§;§:o§m§ §';§792><><><><
g,§:§x§ §§ §yp€ {)§.§§9§ C;O§§§ C§§:§§§ § Q§”§f§e~

 

§ase §2:15-cV-05692-RG&E5,€,]" %%%%rg@nbljggge% Og{/)§:SI§§ Page 22 of 24

 

 

 

 

 

Personal InfOrm€\inYlz Disputed Account lntormation
Name;David Kaup Cteditor/Debt Collector Name:

Social Security Numb€r§ EOS CCA

XXX-XX-XXXX

Date 0f Birth:Ol/26/1983 Account Number: 5937XXXX

Maiiing Anoress: ' balance Uwed: $1,190.00

David Kaup~625é7112 Date Opened: 09/01/2014

Federal Correctional lnstitute 2 PBym€nt StatuSiCharge'Off Collections
PO BOX 3850 Creditor/Debt Collector Address;
Adelanto, California 92301 Po Box 981025

Boston7 MA 02298
Date of Notice206/27/2015
RE: Third Notification of dispute fovanknown, Inaccutate and/or
lncomplete information regarding my personal credit profile.

To Experian w Trans Union - Equifax,

l sent a request to validate proof of debt which was signed on
May ll, 2015 as a first request. A second request was sent to your credit
reporting agency on May 25, ZOliSWithout a response. In both lettets, l
noted that the creditor above has placed an account that is Unknown,
Inaccurate, and/or incomplete9 This is a third and final Notice to your
agency disputing the alleged account because it is Unknown, lnaccurate,
and/or lncomplete.

in the event that yonr credit reporting agency does not respond
to my " DISPUTE NOTICE" wit%in 30 days of receipts l Will begin the process

to file a claim against your company. l have EXHAUSTED all Administrative
Remedy options available.

Fot the several reasons above, l politely ask that you remove this
from my credit pro§ile immediatlyn

Thank You,

David Kanp

 

 

 

 

 

 

 

 

 

 

